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                      Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Ins Page 1 of 33



Balance Sheet Summary - 10/31/2024                  IRWIN
                                                     Amt
Cash or Cash Equivalent *                              5,060,436
Trade Receivable (Gross)                              11,923,277
Trade Receivable-Allowance for Bad Debt                 (678,351)
Prepaid Expenses and Other                             1,511,970
Inventory                                             11,722,264
Inventory Rebate                                        (368,183)
Inventory Reserve                                     (2,219,026)
Notes/R Related Party                                  4,152,399
Current Assets                                        31,104,785


Fixed Assets, Net                                        120,634


LTI 5310 Holdings LLC                                     86,600


Other Non-Current Assets                                 202,250
Deferred Tax Asset                                     2,032,211
Other Assets                                           2,234,461


Right of Use Asset                                       731,664

Assets                                                34,278,145



Trade and Other Payables                              15,103,446
Lease Liability-S/T                                      327,300
Line of Credit                                        17,849,645
Reserve for Returns                                      653,622
Inc Taxes-Deferred/Payable                                10,539
Current Liabilities                                   33,944,551


Lease Liability-L/T                                      434,558
Long Term Liabilities                                    434,558

Related Party Payable ST                               1,000,000


Liabilities                                           35,379,109



Common Stocks                                         16,326,530
APIC                                                      92,180
IN NV Class B Non Voting Shares                       13,750,431
Capital                                               30,169,141

Notes Receivable Related Party                       (16,326,530)
Shareholder Related                                  (16,326,530)

Accum Retained Earnings PY                           107,962,024
Adjustments to Ret Earnings **                       (28,980,837)
Distribution of Ret Earnings                         (94,818,003)
Net Profit                                            (2,594,445)
R/E - NCI                                              3,487,684
                                                     (14,943,575)

Equity                                                (1,100,964)

Liabilities & Equity                                  34,278,145

* Includes ~$180K period end accounting journal entries adjusting for cash that has not yet been received from DTC processors.

** Adjusts for offsetting intercompany receivables/(payables) that are noncollectable.
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    Income Statement - 10/31/2024          IRWIN
                                            Amt
    Revenues, Net                           4,927,187


    COGS                                    2,833,770
    Other COS                                195,020
    Cost of Sales                           3,028,790


    Gross Margin                            1,898,397


    Distribution Cost                        603,515
    Sales & Marketing Expenses               400,518
    General & Administrative Exp             649,789
    Depreciation & Amortization                 9,052
    Bankruptcy Expenses                      672,767
    Expenses                                2,335,641


    Operating Profit                         (437,243)


    Financing Costs/Line of Credit              6,113
    Interest Expenses                         78,750
    Other Expenses                            84,863


    State Inc Taxes                                975
    Other Revenues and Expenses                    975


    Net Profit                               (523,081)
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AR Aging 10/31/2024
Row Labels            Sum of Balance      Sum of Current      Sum of 0 Days       Sum of 30 Days       Sum of 60 Days           Sum of 90+ Days
Grand Total           $      11,923,277   $       7,043,534   $       2,981,846   $          457,618    $          233,870      $       1,206,409

                                                                                                       Reserve for Bad Debts:            (678,351)

                                                                                      90+ Days Aged Net of Bad Debts Account: $           528,058
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AP Aging 10/31/2024
Row Labels            Sum of Balance      Sum of Current      Sum of 0 Days       Sum of 30 Days    Sum of 60 Days     Sum of 90+ Days
Grand Total           $       4,637,620   $       2,915,439   $       1,747,464   $         (26,677) $         1,381   $             15
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Professional Payments
October 2024                              TOTAL

BG LAW                               $           -
PROVINCE                             $           -
OMNI AGENT SOLUTIONS                 $           -
MARULA CAPITAL                       $           -
BEACH FREEMAN LIM & CLELAND          $        26,189
JERREL JOHN CPA                      $           -
CR3                                  $           -

Total Professional Payments          $        26,189
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Insider Payments
October 2024                  10/04/24           10/18/24           10/25/24           TOTAL


Employees


Klee Irwin                $        15,385 $           15,385 $                 -   $      30,769
Tom Grillea               $              -   $        40,385 $                 -   $      40,385
Margareth Irwin           $              -   $              -   $        10,065 $         10,065
Leta Paz                  $              -   $              -   $         8,471 $          8,471
Marcelo Goncalves         $         3,484 $            3,484 $                 -   $       6,968
Dan Wing                  $        10,113 $           10,113 $                 -   $      20,225
                          $        28,981 $           69,366 $           18,536 $        116,884


Consultants


Greenmark Services Corp   $        12,192 $           11,176 $                 -   $      20,225


Total Insider Payments    $        41,173 $           80,542 $           18,536 $        137,109
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                                                                                               888 895-5650
       135 N. Los Robles Ave., 6TH FL.
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                                                                                      ACCOUNT STATEMENT
                                                                                             Page     1    of      9
                                                                    STARTING DATE: October 01, 2024
                                                                      ENDING DATE: October 31, 2024
                                                                      Total days in statement period: 31
                                                                                                            3108
                                                                                                           ( 0)


                                                                        Receive money using Direct Deposits!
               EWB ITF IRWIN NATURALS                                   Set up direct deposit and have your
               CHAPTER 11 DEBTOR IN POSSESSION                          paycheck or other recurring payments
               CASE #24-11323                                           sent to your bank account automatically.
               300 CORPORATE POINTE WALK SUITE 550                      Talk to your payer or call 888.895.5650
               CULVER CITY CA 90230                                     for more details.




      Commercial Analysis Checking


     Account number                          3108         Beginning balance                         $85,409.58
     Low balance                      $21,582.32          Total additions           ( 229)      6,460,196.58
     Average balance                  $54,496.41          Total subtractions         ( 27)      6,421,351.95
                                                          Ending balance                         $124,254.21




     CREDITS
     Number          Date       Transaction Description                                       Additions
                     10-01


                                                                                             80,575.87
                     10-01                                                                    5,871.38
                     10-01
                                                                                             14,690.00
                     10-01                                                                   27,113.00
                     10-01
                                                                                             68,576.96
                     10-01                                                                   79,156.46
                     10-01                                                                   82,716.96
                     10-01                                                                   85,609.93
     22610           10-01                                                                    4,233.34
                     10-02                                                                    9,448.97
                     10-02                                                                   12,837.84
                     10-02
                                                                                             17,977.03
                     10-02                                                                   32,546.87
                     10-02                                                                    1,212.59
     22610           10-02                                                                    6,093.41
                     10-03
                                                                                               120.44
                     10-03                                                                     139.63
                     10-03                                                                    4,682.13
                     10-03


                                                                                              5,472.99
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                                                                       ACCOUNT STATEMENT
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                                                              STARTING DATE: October 01, 2024
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     Number         Date      Transaction Description                         Additions
                    10-03
                                                                              9,318.95
                    10-03                                                   12,328.89
                    10-03
                                                                            13,528.84
                    10-03
                                                                            13,975.58
                    10-03                                                   70,771.11
                    10-04
                                                                              8,440.28
                    10-04


                                                                            99,639.81
                    10-04                                                     2,442.93
                    10-04                                                     2,770.83
                    10-04


                                                                              5,007.99
                    10-04                                                     6,106.77
                    10-04                                                     6,832.53
                    10-04                                                   11,198.40
                    10-04                                                   37,332.62
                    10-04                                                   46,922.45
                    10-04
                                                                            81,310.88
     22610          10-04                                                      726.62
                    10-07


                                                                              9,446.54
                    10-07
                                                                               611.10
                    10-07
                                                                              3,293.91
                    10-07
                                                                            10,859.66
                    10-07                                                   16,274.32
                    10-07
                                                                            16,737.79
                    10-07                                                   36,184.96
                    10-07                                                   71,332.99
                    10-07
                                                                           117,746.06
     22610          10-07                                                     1,444.99
                    10-08                                                      251.88
                    10-08                                                     3,484.21
                    10-08                                                     5,140.12
                    10-08                                                   38,387.02
                    10-08                                                   64,350.43
                    10-08                                                      611.73
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                                                                       ACCOUNT STATEMENT
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                                                              STARTING DATE: October 01, 2024
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              EWB ITF IRWIN NATURALS




     Number         Date      Transaction Description                         Additions
                    10-08                                                     9,305.57
     22610          10-08                                                     8,783.64
                    10-09


                                                                            12,588.40
                    10-09


                                                                           220,151.53
                    10-09


                                                                           265,685.75
                    10-09
                                                                              3,747.34
                    10-09                                                     9,543.11
                    10-09
                                                                            14,690.70
                    10-09                                                   10,636.00
     22610          10-09                                                      608.42
                    10-10                                                      244.37
                    10-10                                                   16,398.69
                    10-10                                                     1,160.96
     22610          10-10                                                     4,487.43
                    10-11
                                                                               790.33
                    10-11
                                                                              2,341.18
                    10-11                                                     2,583.24
                    10-11                                                     3,053.09
                    10-11                                                     3,251.24
                    10-11                                                   17,586.25
                    10-11
                                                                            26,705.89
                    10-11                                                   59,237.55
                    10-11                                                  380,735.24
     22610          10-11                                                  127,954.80
                    10-15                                                     4,665.08
                    10-15
                                                                              6,180.81
                    10-15                                                     8,484.23
                    10-15                                                   11,281.32
                    10-15
                                                                            21,897.73
                    10-15
                                                                            33,331.39
                    10-15
                                                                            37,562.15
                    10-15                                                   53,917.27
                    10-15
                                                                           286,696.37
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                                                                        ACCOUNT STATEMENT
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      Number         Date      Transaction Description                           Additions
                     10-15                                                       6,430.52
                     10-15                                                        147.30
      22610          10-15                                                     58,302.37
                     10-16


                                                                              172,948.04
                     10-16
                                                                                  733.35
                     10-16                                                       1,609.44
                     10-16
                                                                                 4,184.45
                     10-16                                                       7,630.81
                     10-16
                                                                               18,170.09
                     10-16
                                                                               37,775.86
                     10-16
                                                                              113,077.40
                     10-16                                                    162,876.58
      22610          10-16                                                        704.34
                     10-17                                                       1,917.50
                     10-17                                                       5,001.53
                     10-17                                                     11,099.69
                     10-17                                                     11,989.68
                     10-17                                                        283.85
                     10-17                                                       4,881.34
                     10-17                                                       6,706.83
                     10-17
                                                                                 7,177.61
                     10-17
                                                                                 9,019.22
                     10-17                                                     10,905.75
                     10-17                                                       3,880.80
      22610          10-17                                                        380.67
                     10-18                                                       3,966.06
                     10-18                                                       7,427.64
                     10-18


                                                                              216,602.41
                     10-18                                                        686.40
                     10-18
                                                                                  760.64
                     10-18                                                       1,472.13
                     10-18
                                                                                 2,431.73
                     10-18                                                       2,504.51
                     10-18                                                       3,432.11
                     10-18                                                       9,423.07
                     10-18                                                     10,547.64
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                                                                        ACCOUNT STATEMENT
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      Number         Date      Transaction Description                           Additions
                     10-18                                                     10,753.66
                     10-18                                                     23,430.21
                     10-18                                                     45,855.06
                     10-21


                                                                              204,628.80
                     10-21                                                        824.98
                     10-21                                                       1,840.81
                     10-21                                                       2,371.12
                     10-21                                                       7,913.16
                     10-21
                                                                               10,270.67
                     10-21
                                                                               11,601.04
                     10-21                                                     17,586.61
                     10-21                                                     41,033.49
                     10-21                                                     45,851.31
                     10-21
                                                                               66,065.78
                     10-21                                                       5,237.49
      22610          10-21                                                        172.18
                     10-22                                                        240.65
                     10-22
                                                                                 1,332.76
                     10-22                                                       6,165.35
                     10-22
                                                                                 7,079.05
                     10-22                                                     15,905.19
                     10-22                                                     29,341.50
                     10-22                                                     90,677.64
      22610          10-22                                                     37,438.78
                     10-23


                                                                               20,955.28
                     10-23                                                       4,696.78
                     10-23
                                                                                 4,723.06
                     10-23                                                       4,904.86
                     10-23
                                                                                 5,192.43
                     10-23                                                       5,990.60
                     10-23
                                                                               27,528.98
                     10-23
                                                                              132,031.74
                     10-23                                                       5,125.00
                     10-23                                                     13,770.96
      22610          10-23                                                        386.52
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                                                                        ACCOUNT STATEMENT
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      Number         Date      Transaction Description                           Additions
                     10-24


                                                                                 1,380.62
                     10-24                                                       1,994.75
                     10-24                                                       3,254.52
                     10-24                                                       3,384.57
                     10-24
                                                                               12,287.81
                     10-24                                                     12,595.48
                     10-24                                                       2,297.45
      22610          10-24                                                       1,625.10
                     10-25


                                                                              166,250.99
                     10-25                                                       2,330.11
                     10-25                                                       3,166.90
                     10-25                                                       3,221.55
                     10-25                                                       3,429.04
                     10-25
                                                                                 4,930.29
                     10-25                                                     13,709.53
                     10-25                                                     41,688.85
                     10-25                                                     51,015.69
                     10-25                                                       6,263.62
      22610          10-25                                                        911.40
                     10-28                                                       1,079.40
                     10-28


                                                                                 1,549.97
                     10-28
                                                                                 2,974.95
                     10-28                                                       3,042.50
                     10-28                                                       4,047.33
                     10-28                                                       7,359.11
                     10-28                                                     12,386.30
                     10-28                                                     12,854.86
                     10-28
                                                                               17,662.43
                     10-28
                                                                               30,362.44
                     10-28
                                                                               33,320.35
                     10-28                                                     83,953.61
                     10-28                                                    375,058.09
                     10-28                                                        422.89
                     10-28                                                        986.71
      22610          10-28                                                     10,142.73
      22610          10-28                                                     22,719.51
                     10-29                                                        626.01
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                                                                        ACCOUNT STATEMENT
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                                                                   ENDING DATE: October 31, 2024
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      Number         Date      Transaction Description                           Additions
                     10-29                                                       1,444.93
                     10-29                                                       1,902.02
                     10-29                                                       3,599.65
                     10-29                                                       7,056.12
                     10-29                                                       7,257.80
                     10-29                                                     10,760.38
                     10-29                                                     16,673.92
                     10-29                                                       4,893.35
                     10-29
                                                                                 5,256.25
                     10-29                                                       8,834.21
                     10-29
                                                                               13,501.53
                     10-29                                                     21,109.78
                     10-29
                                                                               24,635.11
                     10-29                                                     26,336.64
                     10-29                                                     48,147.42
                     10-29
                                                                               65,100.99
                     10-29                                                       1,347.73
      22610          10-29                                                     49,529.38
                     10-30


                                                                                 1,942.56
                     10-30
                                                                                  549.74
                     10-30                                                       2,862.03
                     10-30                                                       3,173.08
                     10-30
                                                                                 4,831.79
                     10-30                                                     17,970.90
                     10-30
                                                                               43,030.44
                     10-30
                                                                               61,496.00
                     10-30                                                     27,270.97
                     10-30                                                        387.84
      22610          10-30                                                       3,405.94
                     10-31                                                        165.70
                     10-31
                                                                                 1,025.58
                     10-31                                                       5,697.48
                     10-31                                                       5,993.72
                     10-31
                                                                                 7,051.30
                     10-31                                                    133,302.00
      22610          10-31                                                     10,175.92
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
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                                                                                        STARTING DATE: October 01, 2024
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               EWB ITF IRWIN NATURALS




      DEBITS
      Date      Transaction Description                                                               Subtractions
      10-01    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     494,816.70
      10-02    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                      79,333.71
      10-03    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     137,235.56
      10-04    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     310,967.11
      10-07    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     284,041.32
      10-08    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     111,667.60
      10-09    Preauth Debit       TRANSACTION SERV PPMFEE SEP 241009 939019350005826                       0.04
      10-09    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     541,765.21
      10-10    Preauth Debit       TRANSACTION SERV PPMFEE SEP 241010 939019350005826                       1.73
      10-10    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                      45,919.18
      10-11    Preauth Debit       TRANSACTION SERV PPMFEE SEP 241011 939019350005826                       1.13
      10-11    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     621,283.99
      10-15    Dep Ret Rtm                                                                              5,318.00
      10-15    Preauth Debit       TRANSACTION SERV PPMFEE SEP 241015 939019350005826                       0.05
      10-15    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     465,882.49
      10-16    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     541,168.36
      10-17    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                      71,692.07
      10-18    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     345,748.57
      10-21    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     424,447.45
      10-22    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     155,988.92
      10-23    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     229,238.21
      10-24    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                      67,494.30
      10-25    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     293,112.97
      10-28    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     593,571.18
      10-29    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     275,919.11
      10-30    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     135,957.29
      10-31    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT       6606                     188,779.70




      DAILY BALANCES
      Date            Amount                     Date               Amount                  Date        Amount
      09-30              85,409.58               10-10                  21,582.32           10-23          75,081.10
      10-01              39,136.78               10-11                  24,536.01           10-24          46,407.10
      10-02              39,919.78               10-15                  82,232.01           10-25          50,212.10
      10-03              33,022.78               10-16                  60,774.01           10-28          76,564.10
      10-04              30,787.78               10-17                  62,326.41           10-29         118,658.21
      10-07              30,678.78               10-18                  55,871.11           10-30         149,622.21
      10-08              49,325.78               10-21                  46,821.10           10-31         124,254.21
      10-09              45,211.78               10-22                  79,013.10
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 9 of15 9of 33
                                                                     STARTING DATE: October 01, 2024
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                                                                       ENDING DATE: October 31, 2024
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                                                                                               3108
            EWB ITF IRWIN NATURALS




           OVERDRAFT/RETURN ITEM FEES


                                                         Total for                Total
                                                        this period            year-to-date


                     Total Overdraft Fees                   $0.00                    $0.00


                     Total Returned Item Fees               $0.00                    $0.00
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Ins Page 16 of 33
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Direct
                                                                            Ins inquiries
                                                                                  Page 17 to: of 33
                                                                                               888 895-5650
        135 N. Los Robles Ave., 6TH FL.
        Pasadena, CA 91101
                                                                                       ACCOUNT STATEMENT
                                                                                              Page     1    of      4
                                                                     STARTING DATE: October 01, 2024
                                                                       ENDING DATE: October 31, 2024
                                                                       Total days in statement period: 31
                                                                                                             3116
                                                                                                            ( 0)


                                                                         Receive money using Direct Deposits!
                EWB ITF IRWIN NATURALS                                   Set up direct deposit and have your
                CHAPTER 11 DEBTOR IN POSSESSION                          paycheck or other recurring payments
                CASE #24-11323                                           sent to your bank account automatically.
                300 CORPORATE POINTE WALK SUITE 550                      Talk to your payer or call 888.895.5650
                CULVER CITY CA 90230                                     for more details.




      Commercial Analysis Checking


      Account number                          3116         Beginning balance                                 $0.00
      Low balance                             $0.00        Total additions            ( 60)          201,163.38
      Average balance                         $0.00        Total subtractions         ( 23)          201,163.38
                                                           Ending balance                                     $.00




      CREDITS
      Number          Date       Transaction Description                                       Additions
                      10-01
                                                                                                152.28
                      10-01
                                                                                              5,949.44
                      10-02
                                                                                                134.93
                      10-02
                                                                                              9,740.57
                      10-03
                                                                                                  51.18
                      10-03
                                                                                              6,514.45
                      10-04
                                                                                                  52.69
                      10-04
                                                                                              6,658.19
                      10-07
                                                                                                     0.36
                      10-07
                                                                                                  72.68
                      10-07
                                                                                                106.18
                      10-07
                                                                                              5,651.17
                      10-07
                                                                                              5,975.52
                      10-07
                                                                                              8,260.64
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 2 of18 4of 33
                                                                 STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                   ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                             3116
               EWB ITF IRWIN NATURALS




      Number         Date      Transaction Description                           Additions
                     10-08
                                                                                    52.04
                     10-08
                                                                                 4,853.70
                     10-09
                                                                                     9.03
                     10-09
                                                                                 4,908.90
                     10-10
                                                                                  240.33
                     10-10
                                                                                 7,190.26
                     10-11
                                                                                  252.99
                     10-11
                                                                                 7,945.64
                     10-15
                                                                                    65.17
                     10-15
                                                                                  110.70
                     10-15
                                                                                  195.02
                     10-15
                                                                                  214.03
                     10-15
                                                                                 5,949.48
                     10-15
                                                                                 6,237.90
                     10-15
                                                                                 6,623.43
                     10-15
                                                                                 7,192.32
                     10-16
                                                                                    38.16
                     10-16
                                                                                 7,536.04
                     10-17
                                                                                    17.46
                     10-17
                                                                                 6,887.53
                     10-18
                                                                                    58.79
                     10-18
                                                                                 5,653.88
                     10-21
                                                                                    82.29
                     10-21
                                                                                  120.38
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 3 of19 4of 33
                                                                               STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                 ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                            3116
               EWB ITF IRWIN NATURALS




      Number            Date        Transaction Description                                    Additions
                        10-21
                                                                                               5,076.03
                        10-21
                                                                                               6,072.40
                        10-21
                                                                                               6,173.88
                        10-22
                                                                                                  33.44
                        10-22
                                                                                               5,309.49
                        10-23
                                                                                                 109.64
                        10-23
                                                                                               5,352.34
                        10-24
                                                                                                 137.57
                        10-24
                                                                                               5,542.81
                        10-25
                                                                                                 133.30
                        10-25
                                                                                               6,141.02
                        10-28
                                                                                                  61.03
                        10-28
                                                                                                 375.86
                        10-28
                                                                                               5,175.31
                        10-28
                                                                                               6,873.94
                        10-28
                                                                                               7,296.74
                        10-29
                                                                                                  69.28
                        10-29
                                                                                               5,479.87
                        10-30
                                                                                                  58.54
                        10-30
                                                                                               6,847.64
                        10-31
                                                                                                  87.34
                        10-31
                                                                                               7,000.16




      DEBITS
      Date      Transaction Description                                                      Subtractions
      10-01    Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                   6,101.72
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 4 of20 4of 33
                                                                                       STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                         ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                                       3116
               EWB ITF IRWIN NATURALS




      Date     Transaction Description                                                                 Subtractions
      10-02   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              9,875.50
      10-03   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              6,565.63
      10-04   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              6,710.88
      10-07   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                             20,066.55
      10-08   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              4,905.74
      10-09   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              4,917.93
      10-10   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              7,430.59
      10-11   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              8,198.63
      10-15   Preauth Debit       PAYPAL ECHECK 241015                                                        34.94
      10-15   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                             26,553.11
      10-16   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              7,574.20
      10-17   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              6,904.99
      10-18   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              5,712.67
      10-21   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                             17,524.98
      10-22   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              5,342.93
      10-23   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              5,461.98
      10-24   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              5,680.38
      10-25   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              6,274.32
      10-28   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                             19,782.88
      10-29   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              5,549.15
      10-30   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              6,906.18
      10-31   Automatic Trans     TRANSFER TO DEPOSIT SYSTEM ACCOUNT   6606                              7,087.50




      DAILY BALANCES
      Date           Amount                     Date              Amount                   Date           Amount
      09-30                   0.00              10-10                      0.00            10-23                      0.00
      10-01                   0.00              10-11                      0.00            10-24                      0.00
      10-02                   0.00              10-15                      0.00            10-25                      0.00
      10-03                   0.00              10-16                      0.00            10-28                      0.00
      10-04                   0.00              10-17                      0.00            10-29                      0.00
      10-07                   0.00              10-18                      0.00            10-30                      0.00
      10-08                   0.00              10-21                      0.00            10-31                      0.00
      10-09                   0.00              10-22                      0.00




              OVERDRAFT/RETURN ITEM FEES


                                                                           Total for                  Total
                                                                           this period             year-to-date


                       Total Overdraft Fees                                    $0.00                     $0.00


                       Total Returned Item Fees                                $0.00                     $0.00
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Ins Page 21 of 33
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Direct
                                                                            Ins inquiries
                                                                                  Page 22 to: of 33
                                                                                                                      888 895-5650
        135 N. Los Robles Ave., 6TH FL.
        Pasadena, CA 91101
                                                                                                             ACCOUNT STATEMENT
                                                                                                                    Page     1    of      9
                                                                                          STARTING DATE: October 01, 2024
                                                                                              ENDING DATE: October 31, 2024
                                                                                              Total days in statement period: 31
                                                                                                                                   6606
                                                                                                                                 ( 18)


                                                                                               Receive money using Direct Deposits!
                IRWIN NATURALS, INC.                                                           Set up direct deposit and have your
                CHAPTER 11 DEBTOR IN POSSESSION                                                paycheck or other recurring payments
                CASE #24-11323                                                                 sent to your bank account automatically.
                OPERATIONAL ACCOUNT (B2B)                                                      Talk to your payer or call 888.895.5650
                300 CORPORATE POINTE WALK SUITE 550                                            for more details.
                CULVER CITY CA 90230




      Commercial Analysis Checking


      Account number                             6606                      Beginning balance                          $3,767,508.02
      Enclosures                                   18                      Total additions                  ( 48)      6,635,972.27
      Low balance                      $3,321,410.65                       Total subtractions              ( 148)      5,656,523.14
      Average balance                  $4,064,829.86                       Ending balance                             $4,746,957.15




      CREDITS
      Number          Date         Transaction Description                                                           Additions
                      10-01    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                               494,816.70
                      10-01    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                              116                                                    6,101.72
                      10-02    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                                   79,333.71
                      10-02    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3116                                                    9,875.50
                      10-02    Wire Trans-IN          8ad5c51f-d2c9-44dd -b8b4-b0f22e97cd82

                                                      MARGARETH B IRWIN              CONTRIBUTION                     500.00
                      10-03    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                               137,235.56
                      10-03    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3116                                                    6,565.63
                      10-04    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                               310,967.11
                      10-04    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3116                                                    6,710.88
                      10-07    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                               284,041.32
                      10-07    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3116                                                   20,066.55
                      10-07                                                                                         18,280.84
                      10-08    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3108                                               111,667.60
                      10-08    Automatic Trans        TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                             3116                                                    4,905.74
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 2 of23 9of 33
                                                                                   STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                      ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                                6606
               IRWIN NATURALS, INC.




      Number          Date       Transaction Description                                            Additions
                      10-09   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  541,765.21
                      10-09   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     4,917.93
                      10-10   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                   45,919.18
                      10-10   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     7,430.59
                      10-11   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  621,283.99
                      10-11   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     8,198.63
                      10-15   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  465,882.49
                      10-15   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                   26,553.11
                      10-16   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  541,168.36
                      10-16   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     7,574.20
                      10-17   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                   71,692.07
                      10-17   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     6,904.99
                      10-18   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  345,748.57
                      10-18   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     5,712.67
                      10-21   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  424,447.45
                      10-21   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                   17,524.98
                      10-22   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  155,988.92
                      10-22   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     5,342.93
                      10-23   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  229,238.21
                      10-23   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     5,461.98
                      10-24   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                   67,494.30
                      10-24   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     5,680.38
                      10-25   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3108                                  293,112.97
                      10-25   Automatic Trans       TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                           3116                                     6,274.32
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 3 of24 9of 33
                                                                                           STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                              ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                                         6606
               IRWIN NATURALS, INC.




      Number            Date          Transaction Description                                               Additions
                        10-28     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3108                                593,571.18
                        10-28     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3116                                 19,782.88
                        10-29     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3108                                275,919.11
                        10-29     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3116                                   5,549.15
                        10-29     Pre-Auth Credit

                                                            CREDIT                                             20.00
                        10-30     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3108                                135,957.29
                        10-30     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3116                                   6,906.18
                        10-31     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3108                                188,779.70
                        10-31     Automatic Trans           TRANSFER FROM DEPOSIT SYSTEM ACCOUNT

                                                                     3116                                   7,087.50
                        10-31     Pre-Auth Credit

                                                                     2726                                      11.99




      CHECKS
      Number            Date                    Amount                      Number            Date           Amount
                        10-11                       16.94                                     10-16            24.79
                        10-29                       18.99                                     10-11            24.99
                        10-10                       27.15                            *        10-15            53.09
                        10-10                       29.09                            *        10-10            17.99
                        10-31                       11.00                                     10-15           376.31
                        10-10                       19.87                                     10-16         2,500.00
                        10-15                       32.77                                     10-16           100.00
                        10-16                       29.99                                     10-17         4,439.00
               *        10-23                       23.26                   * Skip in check sequence
                        10-10                       30.99




      DEBITS
      Date      Transaction Description                                                                   Subtractions
      10-01    Outgoing Wire                                                                             154,277.10
      10-01    Preauth Debit                                                                                  439.38
      10-01    Preauth Debit                                                                                  961.00
      10-01    Preauth Debit                                                                                1,036.67
      10-01    Preauth Debit                                                                              52,619.95
      10-02    Outgoing Wire
                                                                                                         189,598.67
      10-02    Preauth Debit                                                                                   31.97
      10-02    Preauth Debit                                                                                   36.89
      10-02    Preauth Debit                                                                                  453.41
      10-02    Preauth Debit                                                                                3,094.90
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 4 of25 9of 33
                                                                 STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                   ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                              6606
              IRWIN NATURALS, INC.




      Date     Transaction Description                                         Subtractions
      10-03   Outgoing Wire
                                                                                   370.00
      10-03   Outgoing Wire
                                                                               67,749.10
      10-03   Preauth Debit                                                         69.91
      10-03   Preauth Debit                                                        553.00
      10-03   Preauth Debit                                                        600.55
      10-03   Preauth Debit                                                        697.92
      10-03   Preauth Debit                                                      2,354.80
      10-03   Preauth Debit                                                      4,180.36
      10-03   Preauth Debit                                                    35,574.74
      10-04   Outgoing Fx Ccy                                                    3,906.64
      10-04   Outgoing Fx Ccy                                                    7,740.46
      10-04   Outgoing Fx Ccy                                                  36,051.81
      10-04   Bbp Usd Intl WI                                                      164.07
      10-04   Bbp Usd Intl WI
                                                                                 4,867.87
      10-04   Outgoing Wire                                                   664,029.23
      10-04   Preauth Debit                                                      1,661.61
      10-04   Preauth Debit                                                      5,537.00
      10-04   Preauth Debit                                                      7,912.50
      10-04   Preauth Debit                                                      7,995.07
      10-04   Preauth Debit                                                   243,637.60
      10-07   Preauth Debit                                                        194.31
      10-07   Preauth Debit                                                        270.39
      10-07   Preauth Debit                                                        804.66
      10-07   Preauth Debit                                                      1,281.14
      10-07   Preauth Debit                                                    11,470.02
      10-07   Preauth Debit                                                    15,400.83
      10-07   Preauth Debit                                                    34,368.63
      10-08   Preauth Debit                                                        122.00
      10-08   Preauth Debit                                                      1,970.92
      10-08   Preauth Debit                                                      3,805.63
      10-09   Preauth Debit                                                         55.95
      10-09   Preauth Debit                                                        500.00
      10-09   Preauth Debit                                                        798.04
      10-10   Outgoing Wire                                                    15,000.00
      10-10   Debit Memo                                                       62,774.59
      10-10   Debit Memo                                                       63,585.34
      10-11   Outgoing Fx Ccy                                                    1,121.06
      10-11   Outgoing Fx Ccy                                                    2,512.38
      10-11   Bbp Usd Intl WI                                                    3,550.00
      10-11   Outgoing Wire                                                    14,860.30
      10-11   Outgoing Wire                                                   707,366.93
      10-11   Preauth Debit                                                        445.05
      10-11   Preauth Debit                                                      3,528.00
      10-11   Preauth Debit                                                      5,620.80
      10-11   Preauth Debit                                                      8,294.95
      10-11   Preauth Debit                                                    86,250.90
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 5 of26 9of 33
                                                                                              STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                                   ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                                              6606
              IRWIN NATURALS, INC.




      Date     Transaction Description                                                                         Subtractions
      10-11   Preauth Debit       Irwin Naturals Payment 241011                                               128,018.51
      10-11   Preauth Debit       Irwin Naturals Payment 241011                                               131,464.58
      10-15   Preauth Debit       FEDERAL EXPRESS DEBIT 241015                                                      26.45
      10-15   Preauth Debit       FEDERAL EXPRESS DEBIT 241015                                                     202.71
      10-15   Preauth Debit       FEDERAL EXPRESS DEBIT 241015                                                     498.01
      10-15   Preauth Debit       SPECTRUM SPECTRUM 241015                                                         909.82
      10-15   Preauth Debit       COPPERPOINT CASHCD 241015 469754                                               1,098.00
      10-15   Preauth Debit       SPECTRUM SPECTRUM 241015                                                       1,476.44
      10-15   Preauth Debit       REPOSITRAK REPOSITRAK 241015 ST-C7K1C4C8G5V4                                   2,647.00
      10-15   Preauth Debit       SPS COMMERCE, IN VENDOR PMT 241015 7ZGW29J9Z4DG                                7,797.80
      10-15   Preauth Debit       FEDERAL EXPRESS DEBIT 241015                                                 15,881.05
      10-16   Outgoing Wire       36d46817-4b57-4080 -8000-1350f0b5dc54 IRWIN NATURALS      0381

                                  /ROC/5700327358                                                             234,344.26
      10-16   Preauth Debit       BANCORPSV BANCORPSV WH-EDIS-99994-SETT LE PURCHASE                               482.73
      10-17   Outgoing Wire       7c886460-bd9d-44f7 -83ca-308372264e18 IRWIN NATURALS      0381

                                  /ROC/6150358949                                                                  370.00
      10-17   Outgoing Wire       f8a32456-e8af-4817 -b955-f235a446443d IRWIN NATURALS     0381

                                  /ROC/7904316VV                                                               93,399.23
      10-17   Preauth Debit       FIDELITY 92666 C FPRS Irwin Naturals                                           1,281.14
      10-17   Preauth Debit       FIDELITY 92666 C FPRS Irwin Naturals                                         15,224.23
      10-18   Bbp Usd Intl WI     ACI3152P00002705 REENA GROUP OF COM TDOMCATTTOR Bank Institution N umber:

                                  004 B                                                                          1,325.50
      10-18   Outgoing Wire       ACD3152P00002704 ROBINSON PHARMA, I 122203950 /ROC/NOT PROVIDED             669,694.07
      10-18   Preauth Debit       FEDERAL EXPRESS DEBIT 241018                                                     291.66
      10-18   Preauth Debit       FEDERAL EXPRESS DEBIT 241018                                                     433.99
      10-18   Preauth Debit       FEDERAL EXPRESS DEBIT 241018                                                     511.65
      10-18   Preauth Debit       LEASE SERVICES 8883084403              2TDBH1IHOIGF6JF                           741.89
      10-18   Preauth Debit       TASC FUNDING 241018 cc4d03a46f2da47                                            1,220.62
      10-18   Preauth Debit       NEOPOST INC PAYMENT                                                            1,809.92
      10-18   Preauth Debit       Irwin Naturals Payment                                                         2,749.99
      10-18   Preauth Debit       FEDERAL EXPRESS DEBIT                                                        14,592.82
      10-18   Preauth Debit       Irwin Naturals Payment                                                       96,864.24
      10-18   Preauth Debit       Irwin Naturals Payment                                                      139,206.54
      10-21   Preauth Debit       GO DADDY.COM,INC WEB ORDER 241021 3156912186                                       9.99
      10-21   Preauth Debit       GO DADDY.COM,INC WEB ORDER 241021 3157011826                                      11.99
      10-21   Preauth Debit       Quadient Leasing LEASE PMT NTE*Lease# N220712 14\                                109.09
      10-21   Preauth Debit       PAYPAL INST XFER 241021                                                          122.00
      10-22   Analysis Servic     ANALYSIS ACTIVITY FOR 09/24                                                    3,801.72
      10-22   Preauth Debit       BANCORPSV BANCORPSV WH-EDIS-99994-SETT LE PURCHASE                             1,156.75
      10-23   Outgoing Fx Ccy     FX OUT WIRE 101482259 1 1 IRWIN NATURALS 022                                   1,183.78
      10-23   Preauth Debit       PAYPAL INST XFER 241023                                                          144.00
      10-23   Preauth Debit       shopify.com/c shopify.co 241023 ST-D5Q8O8W1T8L0                                3,879.11
      10-23   Preauth Debit       Irwin Naturals Payment 241023                                                45,709.90
      10-24   Preauth Debit       Irwin Naturals Payment 241024                                                    941.96
      10-24   Preauth Debit       Irwin Naturals PR PAYMENT 241024                                             18,536.21
      10-25   Outgoing Fx Ccy     FX OUT WIRE 101482861 1 1 IRWIN NATURALS 022                                     787.92
      10-25   Outgoing Fx Ccy     FX OUT WIRE 101482862 1 1 IRWIN NATURALS 022                                   5,859.80
      10-25   Outgoing Wire       ACD3159P00003536 ROBINSON PHARMA, I 122203950 /ROC/NOT PROVIDED             705,678.16
      10-25   Preauth Debit       IPFS866-412-1821 IPFSPMTCAL 241025 498809                                      4,569.26
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 6 of27 9of 33
                                                                                                 STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                                                      ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                                                                 6606
              IRWIN NATURALS, INC.




      Date     Transaction Description                                                                            Subtractions
      10-25   Preauth Debit       Irwin Naturals Payment 241025                                                   24,357.20
      10-25   Preauth Debit       ANTHEM BLUE W01O CORP PYMT 241025 FL00423708                                    56,135.57
      10-25   Preauth Debit       Irwin Naturals Payment 241025                                                  155,690.31
      10-28   Preauth Debit       FEDERAL EXPRESS DEBIT 241028                                                         53.15
      10-28   Preauth Debit       FEDERAL EXPRESS DEBIT 241028                                                        387.84
      10-28   Preauth Debit       FEDERAL EXPRESS DEBIT 241028                                                        496.45
      10-28   Preauth Debit       Quadient Leasing LEASE PMT NTE*Lease# N220712 14\                                   846.92
      10-28   Preauth Debit       WA DEPT REVENUE TAX PYMT 241028 14104163                                            974.87
      10-28   Preauth Debit       Irwin Naturals PAYMENT 241028                                                   15,000.00
      10-28   Preauth Debit       FEDERAL EXPRESS DEBIT 241028                                                    15,478.85
      10-29   Onln Bkg Trfn D     TO ACC 05500020440                                                                  500.00
      10-29   Onln Bkg Trfn D     TO ACC 05500020447                                                                  500.00
      10-29   Preauth Debit       ATT Payment 241029                                                                  139.10
      10-29   Preauth Debit       UNUMGROUP955 INSURANCE          01 UNUM GROUP 0923654001 20241101                   600.55
      10-29   Preauth Debit       UNUMGROUP955 INSURANCE          01 UNUM GROUP 0923655001 20241101                   706.07
      10-29   Preauth Debit       BANCORPSV BANCORPSV WH-EDIS-99994-SETT LE PURCHASE                                1,417.23
      10-29   Preauth Debit       UNUMGROUP955 INSURANCE          01 UNUM GROUP 0923653001 20241101                 2,365.80
      10-29   Preauth Debit       Colonial Life Pay-In for 241029 890656345162358                                   3,094.90
      10-30   Outgoing Wire       a9d64030-0684-416e -b730-06b02205f7ea IRWIN NATURALS

                                  /ROC/5350377476                                                                190,881.16
      10-30   Preauth Debit       ADP PAYROLL FEES ADP FEES                                                            19.80
      10-30   Preauth Debit       Employer Driven AchCollect 241030                                                 1,647.00
      10-30   Preauth Debit       QUARTERLY FEE PAYMENT 241030 0000                                               59,486.15
      10-31   Outgoing Wire       a6824e90-0aaf-46ec -8ebc-5c1ce0c4e978 IRWIN NATURALS       0381

                                  /ROC/6150359673                                                                     369.83
      10-31   Outgoing Wire       74e9f5ab-33ec-4004 -9d60-ea6b10bf3582 IRWIN NATURALS        0381

                                  /ROC/8090277VV                                                                  69,316.08
      10-31   Debit Memo          LOAN PMT LN 769630622                                                           60,602.46
      10-31   Debit Memo          LOAN PMT LN 769626920                                                           72,806.06
      10-31   Preauth Debit       UL VERIFICATION WERCSMART 241031 M80702635068                                       303.19
      10-31   Preauth Debit       FIDELITY 92666 C FPRS Irwin Naturals 92666 002                                    1,281.14
      10-31   Preauth Debit       FIDELITY 92666 C FPRS Irwin Naturals 92666 001                                  12,065.75




      DAILY BALANCES
      Date           Amount                        Date                   Amount                        Date        Amount
      09-30         3,767,508.02                   10-10                 4,147,878.07                   10-23       4,624,736.93
      10-01         4,059,092.34                   10-11                 3,684,285.30                   10-24       4,678,433.44
      10-02         3,955,585.71                   10-15                 4,145,721.45                   10-25       4,024,742.51
      10-03         3,987,236.52                   10-16                 4,456,982.24                   10-28       4,604,858.49
      10-04         3,321,410.65                   10-17                 4,420,865.70                   10-29       4,877,004.11
      10-07         3,580,009.38                   10-18                 3,842,884.05                   10-30       4,767,833.47
      10-08         3,690,684.17                   10-21                 4,284,603.41                   10-31       4,746,957.15
      10-09         4,236,013.32                   10-22                 4,440,976.79
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38      Desc
                                                                        ACCOUNT STATEMENT
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments PageIns Page 7 of28 9of 33
                                                                     STARTING DATE: October 01, 2024
        135 N. Los Robles Ave., 6TH FL.
                                                                       ENDING DATE: October 31, 2024
        Pasadena, CA 91101
                                                                                               6606
            IRWIN NATURALS, INC.




           OVERDRAFT/RETURN ITEM FEES


                                                         Total for                Total
                                                        this period            year-to-date


                     Total Overdraft Fees                   $0.00                    $0.00


                     Total Returned Item Fees               $0.00                    $0.00
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 EnteredChecking
                                                               11/21/24Account
                                                                         14:35:38 Desc6606
Exhibit Balance Sheet Income Statement AR/AP Aging Professional  Payments
                                                              Statement Date
                                                                             Ins Page   29 of 33
                                                                                  10/31/2024
                                                                Page                  8 of 9




                     10/11/2024        $16.94                      10/15/2024         $32.77




                     10/29/2024         $18.99                     10/16/2024         $29.99




                      10/10/2024        $27.15                     10/23/2024        $23.26




                     10/10/2024         $29.09                     10/10/2024         $30.99




                    10/31/2024         $11.00                      10/16/2024        $24.79




                     10/10/2024         $19.87                     10/11/2024        $24.99
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 EnteredChecking
                                                               11/21/24Account
                                                                         14:35:38 Desc6606
Exhibit Balance Sheet Income Statement AR/AP Aging Professional  Payments
                                                              Statement Date
                                                                             Ins Page   30 of 33
                                                                                  10/31/2024
                                                                Page                  9 of 9




                      10/15/2024        $53.09




                      10/10/2024        $17.99




                     10/15/2024        $376.31




                 10/16/2024        $2,500.00




                     10/16/2024        $100.00




                   10/17/2024         $4,439.00
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Ins Page 31 of 33
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Direct
                                                                            Ins inquiries
                                                                                  Page 32 to: of 33
                                                                                                                         888 895-5650
        135 N. Los Robles Ave., 6TH FL.
        Pasadena, CA 91101
                                                                                                               ACCOUNT STATEMENT
                                                                                                                       Page    1      of     1
                                                                                              STARTING DATE: October 01, 2024
                                                                                                ENDING DATE: October 31, 2024
                                                                                               Total days in statement period: 31
                                                                                                                                      6614
                                                                                                                                     ( 0)


                                                                                                 Receive money using Direct Deposits!
                 IRWIN NATURALS                                                                  Set up direct deposit and have your
                 CHAPTER 11 DEBTOR IN POSSESSION                                                 paycheck or other recurring payments
                 CASE #24-11323                                                                  sent to your bank account automatically.
                 E-COMMERCE (B2C)                                                                Talk to your payer or call 888.895.5650
                 300 CORPORATE POINTE WALK SUITE 550                                             for more details.
                 CULVER CITY CA 90230




      Commercial Analysis Checking


      Account number                                6614                      Beginning balance                               $11,004.01
      Low balance                           $10,209.62                        Total additions                  ( 0)                        .00
      Average balance                       $10,406.07                        Total subtractions               ( 8)                  794.39
                                                                              Ending balance                                  $10,209.62




      DEBITS
      Date      Transaction Description                                                                               Subtractions
      10-02    Preauth Debit       AUTHNET GATEWAY BILLING 241002 137886460                                                33.35
      10-02    Preauth Debit       M MERCHANT MTHLY FEES 241002 567140115108394                                            42.50
      10-02    Preauth Debit       TRANSACTION SERV MERCH FEES 241002 939019350005829                                      74.51
      10-02    Preauth Debit       TRANSACTION SERV MERCH FEES 241002 939019350005825                                     197.10
      10-02    Preauth Debit       AUTHNET GATEWAY BILLING 241002 138011811                                               255.95
      10-28    Preauth Debit       TRANSACTION SERV MERCH CHBK                                                             80.96
      10-31    Preauth Debit       TRANSACTION SERV MERCH CHBK                                                             50.04
      10-31    Preauth Debit       TRANSACTION SERV MERCH CHBK                                                             59.98




      DAILY BALANCES
      Date            Amount                     Date               Amount                        Date                  Amount
      09-30              11,004.01               10-28                  10,319.64
      10-02              10,400.60               10-31                  10,209.62




              OVERDRAFT/RETURN ITEM FEES


                                                                                  Total for                      Total
                                                                              this period                   year-to-date


                        Total Overdraft Fees                                         $0.00                             $0.00


                        Total Returned Item Fees                                     $0.00                             $0.00
        Case 1:24-bk-11323-VK Doc 249-1 Filed 11/21/24 Entered 11/21/24 14:35:38 Desc
Exhibit Balance Sheet Income Statement AR/AP Aging Professional Payments Ins Page 33 of 33
